PARTNERS:                           DEMPSEY, EDGARTON, ST. PETER,                                                                   ASSOCIATES:
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                                                                October 4, 2019

        VIA E-FILE ONLY

        Honorable Pamela Pepper
        United States District Court
        Eastern District of Wisconsin
        United States Courthouse Room 208
        517 East Wisconsin Avenue
        Milwaukee, WI 53202


                                    Re:                Doe v. Board of Regents of the Univ. of Wis. Sys., et al.
                                                       Case No. 19-cv-1348

        Dear Judge Pepper:

                Plaintiff filed a Motion for Preliminary Injunction on September 23, 2019. The Motion sought
        injunctive relief pertaining to a hearing that began on September 26, 2019, and that will be continued and
        concluded on Tuesday, October 8, 2019. We respectfully request a hearing on the Motion. The
        injunction could be to enjoin the hearing altogether or, alternatively, it could be to enjoin the Defendants
        from deciding the matter and/or implementing any decision on the matter until the issues can be tried and
        heard. If permitted I can make myself and any witnesses available for hearing on Monday, October 7,
        2019, in the afternoon. Any evidentiary hearing should not last any more than 30 minutes. Thank you.

                                                            Very truly yours,

                                             DEMPSEY, EDGARTON, ST. PETER,
                                             PETAK & ROSENFELDT LAW FIRM

                                                        Peter J. Culp
                                                                 Peter J. Culp

        PJC:hls

        c:        Client - via email
                  Anne M. Bensky, Esq. - via efile


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                    Case
        07514153.WPD.1          2:19-cv-01348-PP Filed 10/04/19 Page 1 of 1 Document 25
